            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION

                      CRIMINAL CASE NO. 1:08cr10-3


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                      ORDER
                          )
                          )
SANDRA DENISE LOWRANCE. )
                          )


        THIS MATTER is before the Court on the Defendant’s “Motion for

Reduction of Sentence Based on 2010 18:1 Crack-Reduction Ratio” [Doc.

150].

        On February 5, 2008, the Defendant was charged in a bill of

indictment along with five other co-defendants with engaging in a drug

trafficking conspiracy that involved at least 50 grams of cocaine base,

commonly known as crack cocaine. [Doc. 1]. The Defendant pled guilty to

this charge pursuant to a plea agreement on March 19, 2008. [Doc. 59].

On September 3, 2008, the Defendant was sentenced to 87 months of

imprisonment. [Doc. 122]. The Defendant did not appeal her sentence.

        The Defendant now moves pursuant to 18 U.S.C. § 3582(c)(2) for a

reduction of her sentence based upon the Fair Sentencing Act of 2010,



        Case 1:08-cr-00010-MR   Document 152   Filed 03/24/11   Page 1 of 3
which amended the provisions of 21 U.S.C. § 841(b) by increasing the

amount of crack cocaine required to trigger mandatory minimum

sentences. [Doc. 150].

      The Defendant is not entitled to a reduction in her sentence. The

Fourth Circuit has held that “the Fair Sentencing Act of 2010 . . . does not

apply retroactively.” United States v. Nelson, No. 09-4297, 2010 WL

4676614, at *1 (4th Cir. Nov. 18, 2010). Nor does § 3582(c) afford the

Defendant any relief. As relevant to the pending motion, § 3582 provides

that the Court may modify a defendant’s sentence if the defendant was

sentenced to a term of imprisonment based on a sentencing range that

was subsequently lowered by the Sentencing Commission pursuant to 28

U.S.C. 994(o), “if such a reduction is consistent with applicable policy

statements issued by the Sentencing Commission.” 18 U.S.C. §

3582(c)(2). Section 1B1.10 of the Guidelines sets forth the Sentencing

Commission’s policy statement with respect to reductions in sentence

based on subsequent amendments and specifically identifies those

amendments that courts may apply retroactively pursuant to § 3582(c)(2).

See U.S.S.G. § 1B1.10(a)(2)(A). There is no amendment listed in

subsection (c) that lowers a Guidelines range due to the Fair Sentencing



                                       2


      Case 1:08-cr-00010-MR   Document 152    Filed 03/24/11   Page 2 of 3
Act. See United States v. Millhouse, No. 7:04-CR-85-F3, 2010 WL

4338383, at *2 (E.D.N.C. Oct. 22, 2010). As such, § 3582(c)(2) does not

serve as a basis to reduce the Defendant’s sentence.

     For these reasons, the Court concludes that the Defendant is not

entitled to a sentence reduction. Nonetheless, because the Sentencing

Commission may determine in the future to make the Fair Sentencing Act

retroactive, this motion will be denied without prejudice. See Millhouse,

2010 WL 4338383, at *2 n.1.



                                 ORDER

     IT IS, THEREFORE, ORDERED that the Defendant’s “Motion for

Reduction of Sentence Based on 2010 18:1 Crack-Reduction Ratio” [Doc.

150] is DENIED without prejudice.

     IT IS SO ORDERED.

                                      Signed: March 23, 2011




                                      3


      Case 1:08-cr-00010-MR   Document 152    Filed 03/24/11   Page 3 of 3
